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                                                           UNITED STATES BANKRUPTCY COURT
                                                                DISTRICT OF NEW JERSEY




 In Re: Cinram Operations, Inc.                                                                                                              Case Number: 17-15259 (VFP)



                                                                          MONTHLY OPERATING REPORT
                                                                      For the Period July 1, 2018 through July 31, 2018




                                                                                                                                                  Document         Explanation
 REQUIRED DOCUMENTS                                                                                               Form No.                        Attached          Statement
 Schedule of Cash Receipts and Disbursements                                                                   MOR-1                                 X
    Bank Reconciliation (or copies of debtor's bank reconciliations)                                           MOR-1a                                                  X
    Schedule of Professional Fees Paid                                                                         MOR-1b                                    X
    Copies of bank statements                                                                                                                                          X
    Cash disbursements journals                                                                                MOR-1c                                    X
 Statement of Operations                                                                                       MOR-2                                     X
 Balance Sheet                                                                                                 MOR-3                                     X
 Status of Postpetition Taxes                                                                                  MOR-4                                     X
   Copies of IRS Form 6123 or payment receipt
   Copies of tax returns filed during reporting period
 Summary of Unpaid Postpetition Debts                                                                          MOR-4                                     X
 Accounts Receivable Reconciliation and Aging                                                                  MOR-5                                     X
 Debtor Questionnaire                                                                                          MOR-5                                     X

 I declare under penalty of perjury (28 U.S.C. Section 1746) that this report and the attached documents
 are true and correct to the best of my knowledge and belief.



                                                                                                               8/2/18
 Signature of Authorized Individual                                                                                          Date


 Joseph Catalano                                                                                               Secretary
 Printed Name of Authorized Individual                                                                            Title of Authorized Individual

 Notes:



   The information contained herein is provided to fulfill the requirements of the Office of the United States Trustee. All information contained herein is
   unaudited and is subject to future adjustment. Certain assumptions have been made as noted herein. The unaudited consolidated financial statements
   presented herein have been derived from the Debtors’ books and records. Certain financial information, however, has not bee n subject to procedures that
   would typically be applied to financial information prese nted in accordance with US GAAP, and upon the appli cation of such procedures , the Debtors
   believe that the financial i nformation could be subje ct to further cha nges, and these changes coul d be material. Nothing contained in this Monthly
   Operating Report shall constitute a waiver of any of the Debtors’ rights or an admission with respect to their Chapter 11 Proceedings, including, but not
   limited to, matters involving objections to claims, substantive consolidation, equitable subordi nation, defenses, characterization or re-characterization of
   contracts, assumption or rejection of contracts under the provisions of cha pter 3 of Title 11 of the United States Code (the “Bankruptcy Code ”) and/or
   causes of action under the provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable laws to recover assets or avoid transfers.
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                                DISTRICT OF NEW JERSEY


 In Re:                                                                              Chapter 11
 Cinram Operations, Inc.                                           Case Number: 17-15259 (VFP)
                                                                           Jointly Administered
 SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS


                                                                        7/1/18        Cumulative
                                                                      7/31/18       Filing to Date




 Receipts
 Cash Sales                                                                 -                   -
 Asset Sales                                                                -                   -
 Rental Income                                                              -                   -
 Intercompany transfer                                                 20,000           430,000
 Other                                                                      -                   -
 Total Receipts                                                        20,000           430,000


 Disbursements
 Rent                                                                       -                   -
 Utilities                                                             16,627           152,122
 Repairs and Maintenance                                                3,959            63,936
 Capital Expenses                                                           -                   -
 Payroll (1099)                                                             -                   -
 Taxes                                                                      -           183,702
 Insurance                                                                  -                   -
 Worker's Comp                                                              -                   -
 Miscellaneous                                                              -               250
 Total Operating Disbursements                                         20,586           400,009


 Loan Paydown                                                               -                   -
 Cash Interest                                                              -                   -
 Loan Fees                                                                  -                   -
 Deposits                                                                   -                   -
 Bank Fees                                                                 49             1,160
 Professional Fees                                                          -             7,010
 Board Fees                                                                 -                   -
 GUC Escrow                                                                 -                   -
 UST Fees                                                                650              4,550
 Total Non-Operating Disbursements                                       699             12,720


 Total Disbursements                                                   21,285           412,730


 Net Cash Flow                                                         (1,285)           17,270


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                                          DISTRICT OF NEW JERSEY



 In Re:                                                                                                                   Chapter 11
 Cinram Operations, Inc.                                                                                Case Number: 17-15259 (VFP)
                                                                                                                Jointly Administered

                                                                 MOR-1a
                           Debtor's Statement with respect to Bank Account Reconciliations and Bank Statements
                                            For the Period July 1, 2018 through July 31, 2018
 Bank Account Reconcilliations

 The Debtor affirms that bank reconciliations have been prepared for all open and active bank accounts to the Debtor’s books as of
 July 31, 2018 without exception, and are available upon request.

 Bank Statements

 Bank statements for all open and active bank accounts are retained by the Debtor and are available upon request. The Debtor's
 bank accounts and balances are as follows:



 Bank                                          Account Number                                              7/31/18


 Chase Bank - Operating account                xxxxxxxx3162                                                                20,220.11
 Chase Bank - Utility Escrow                   xxxxxxxx3360                                                                 4,625.00



                                                                                                                                     -




 Total Cash                                                                                                               24,845.11
 MOR-1A




                                                                MOR-1a
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                                                 DISTRICT OF NEW JERSEY



 In Re:                                                                                                                                              Chapter 11
 Cinram Operations, Inc.                                                                                                            Case Number: 17-15259 (VFP)
                                                                                                                                              Jointly Administered


 Professional Fees Paid

                                                                     July 1, 2018 - July 31, 2018


                                                      Amounts Paid This Period                               Cumulative Paid Since Petition Date
 Professional                                 Fees                  Expenses                        Total    Fees               Expenses                     Total
 Appraisal Group International                    -                        -                           -    7,010                       -                  7,010
 Total Professional Fees and Expenses             -                        -                           -    7,010                       -                  7,010


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 In Re:                                                                                                                                                   Chapter 11
 Cinram Operations, Inc.                                                                                                                Case Number: 17-15259 (VFP)
                                                                                                                                                Jointly Administered



                                                            CASH DISBURSEMENTS JOURNALS
                                                        For the Period July 1, 2018 through July 31, 2018


 Payor                         Date             Payee                                Amount Paid     Category                 Payment type      Check no.
 Cinram   Operations,   Inc.           7/6/18   Adeco                                       362.60   Repair and Maintenance         Check       1283
 Cinram   Operations,   Inc.           7/6/18   Godwin Landscaoing                         2200.00   Repair and Maintenance         Check       1284
 Cinram   Operations,   Inc.          7/13/18   Adeco                                       290.08   Repair and Maintenance         Check       1285
 Cinram   Operations,   Inc.          7/13/18   City of Tuscaloosa                          521.04   Utilities                      Check       1286
 Cinram   Operations,   Inc.          7/13/18   City of Tuscaloosa                           91.09   Utilities                      Check       1287
 Cinram   Operations,   Inc.          7/16/18   Bank Fee                                     49.40   Bank Fees                       Wire       W20180716
 Cinram   Operations,   Inc.          7/23/18   Adeco                                       217.56   Repair and Maintenance         Check       1288
 Cinram   Operations,   Inc.          7/23/18   Alabama Power                              3405.62   Utilities                      Check       1289
 Cinram   Operations,   Inc.          7/23/18   Alabama Power                              4265.02   Utilities                      Check       1290
 Cinram   Operations,   Inc.          7/23/18   Global Fire Sprinler                        100.00   Repair and Maintenance         Check       1291
 Cinram   Operations,   Inc.          7/23/18   Spire                                        15.63   Utilities                      Check       1292
 Cinram   Operations,   Inc.          7/24/18   US Trustee                                  650.00   US Trustee Fees                Check       1293
 Cinram   Operations,   Inc.          7/26/18   Alabama Power                                99.30   Utilities                      Check       1294




 MOR1-C
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 In Re:                                                                                   Chapter 11
 Cinram Operations, Inc.                                                Case Number: 17-15259 (VFP)
                                                                                Jointly Administered

 Cinram Operations, Inc. Statement of Operations
 July 1, 2018 - July 31, 2018

                                                                       7/1/18             Cumulative
                                                                      7/31/18            Filing to Date
 Net Sales                                                                    -                       -
 COGS                                                                         -                       -
 Gross Margin                                                                 -                       -

 Payroll (1099)                                                              -                     -
 Payroll Taxes and Benefits                                                  -                     -
 Facility Maintenance                                                        -                     -
 Rent                                                                        -                     -
 Insurance                                                                   -                     -
 Supplies                                                                    -                     -
 Repairs and Maintenance                                                 3,170                63,936
 Utilities                                                               8,398               152,122
 Trash Removal                                                               -                     -
 Marketing                                                                   -                     -
 Security
 Admin                                                                       -                     -
 Travel & Entertainment                                                      -                     -
 Employee Procurement                                                        -                     -
 Purchased Services                                                          -                     -
 Professional Fees                                                           -                 7,010
 Board Fees                                                                  -                     -
 US Trustee Fees                                                           650                 4,550
 Cash/Banking Fees                                                          49                 1,160
 Overhead Allocation                                                         -                     -
 Other Expenses                                                              -                   250
 Taxes                                                                       -               183,702
 Interest Expense                                                            -                     -
 Depreciation & Amortization                                                 -                     -
 Reorganization Items                                                        -                     -

 Total Operating Expenses                                               12,267               412,730

 Net Income (Loss)                                                     (12,267)             (412,730)

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 In Re:                                                                      Chapter 11
 Cinram Operations, Inc.                                      Case Number: 17-15259 (VFP)
                                                                      Jointly Administered


 Cinram Operations, Inc. Balance Sheet
 as of Month End
 in (000's)

                                                                              July 31, 2018
 ASSETS
 Cash & Equivalents                                                       $                   25
 Merchandise Inventory                                                                    -
 Inventory Reserve                                                                        -
 Prepaid Merchandise                                                                      -
 Accounts Receivable                                                                      -
 Other Current Assets                                                                     -
 Current Assets                                                                               25

 Fixed Assets                                                                             -
 Accumulated Depreciation                                                                 -
 Asset Impairment                                                                         -
 Property & Equipment, Net                                                              7,500

 Goodwill                                                                                 -
 Intangible Assets                                                                        -
 Other Assets                                                                             -
 Total Assets                                                             $             7,525

 LIABILITIES
 DIP Financing                                                                            -
 Expense Payables                                                                         -
 Other Payables                                                                           -
 Accrued Expenses                                                                         -
 Transaction Fee Payable                                                                  -
 Current Liabilities                                                                      -

 Liabilities Subject to Compromise- Secured                                               -
 Liabilities Subject to Compromise- Unsecured                                                  7
 Long-Term Liabilities                                                                         7

 Total Liablities                                                                              7

 EQUITY
 Stock                                                                                    -
 Retained Earnings                                                                      7,518
 Total Equity                                                                           7,518

 Total Liabilities & Equity                                               $             7,525




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 In Re:                                                                                                                                                  Chapter 11
 Cinram Operations, Inc.                                                                                                                 Case Number: 17-15259 (VFP)
                                                                                                                                                 Jointly Administered
                                                            STATUS OF POSTPETITION TAXES

 The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
 Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
 Attach photocopies of any tax returns filed during the reporting period.

 As of July 31, 2018
                                                           Beginning           Amount                                                                        Ending
                                                              Tax             Withheld or          Amount                Date            Check No.             Tax
                                                            Liability          Accrued              Paid                 Paid             or EFT             Liability
 Federal
 Withholding
 FICA-Employee
 FICA-Employer
 Unemployment
 Income
 Other:_________________
   Total Federal Taxes
 State and Local
 Withholding
 Sales
 Excise
 Unemployment
 Real Property
 Personal Property
 Other:_________________
   Total State and Local
 Total Taxes                                                             0                  0                   0                  0                 0                   0


                                                   SUMMARY OF UNPAID POSTPETITION DEBTS

 Attach aged listing of accounts payable.
 As of July 31, 2018
                                                                                                    Number of Days Past Due
                                                        Current              0-30               31-60          61-90                   Over 90           Total
 Accounts Payable
 Wages Payable
 Taxes Payable
 Rent/Leases-Building
 Rent/Leases-Equipment
 Secured Debt/Adequate Protection Payments
 Professional Fees
 Amounts Due to Insiders*
 Other:__________________________
 Other:__________________________
 Total Postpetition Debts                                                0                  0                   0                  0                 0                   0

 Explain how and when the Debtor intends to pay any past-due postpetition debts.




 *"Insider" is defined in 11 U.S.C. Section 101(31).




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 In Re:                                                                                                       Chapter 11
 Cinram Operations, Inc.                                                                     Case Number: 17-15259 (VFP)
                                                                                                     Jointly Administered


                                        ACCOUNTS RECEIVABLE RECONCILIATION AND AGING
 July 31, 2018

 Accounts Receivable Reconciliation                                                                   Amount
 Total Accounts Receivable at the beginning of the reporting period                                      -             -
 + Amounts billed during the period                                                                      -             -
 - Amounts collected during the period                                                                   -             -
 Total Accounts Receivable at the end of the reporting period                                            -             -

 Accounts Receivable Aging                                                                            Amount
 0 - 30 days old                                                                                         -             -
 31 - 60 days old                                                                                        -             -
 61 - 90 days old                                                                                        -             -
 91+ days old                                                                                            -             -
 Total Accounts Receivable                                                                               -             -
 Amount considered uncollectible (Bad Debt)                                                              -             -
 Accounts Receivable (Net)                                                                               -             -



                                                      DEBTOR QUESTIONNAIRE

 Must be completed each month                                                                   Yes              No
 1. Have any assets been sold or transferred outside the normal course of business this
                                                                                                                 X
 reporting period? If yes, provide an explanation below.
 2. Have any funds been disbursed from any account other than a debtor in possession
                                                                                                                 X
 account this reporting period? If yes, provide an explanation below.
 3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                N/A             N/A
 below.
 4. Are workers compensation, general liability and other necessary insurance coverages in
                                                                                                X
 effect? If no, provide an explanation below.
 5. Has any bank account been opened during the reporting period? If yes, provide
 documentation identifying the opened account(s). If an investment account has been
 opened provide the required documentation pursuant to the Delaware Local Rule 4001-                             x
 3.

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